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                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                        June 04, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                          §
                                §                       CASE NO: 24-30885
JOANNA BURKE,                   §
                                §                       CHAPTER 13
      Debtor.                   §
                                §
JOANNA BURKE,                   §
                                §
      Plaintiff,                §
                                §
VS.                             §                       ADVERSARY NO. 24-3056
                                §
DEUTSCHE BANK NATIONAL TRUST    §
COMPANY, PHH MORTGAGE           §
CORPORATION, AVT TITLE SERVICES §
LLC, AND DOES 1-10,             §
                                §
      Defendants.               §

                                         ORDER DISMISSING CASE

        This adversary proceeding was initiated on March 29, 2024 (ECF No. 1). On April 1, 2024,
the main bankruptcy case in this proceeding was dismissed. A bankruptcy court should generally
dismiss related proceedings after the bankruptcy case has been closed.1 As such, this adversary
will be dismissed.

           THEREFORE, IT IS ORDERED that Adversary Case No. 24-3056 is dismissed and
closed.

            SIGNED 06/04/2024


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




1
    In re Querner, 7 F.3d 1199 (5th Cir. 1993).
1/1
